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 6                          UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
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 9   ZAFAR MOHSENZADEH,                                  Case No.: 20-CV-0672 W (AHG)
10                                      Plaintiff,
                                                         ORDER GRANTING JOINT
11   v.                                                  MOTION TO DISMISS WITH
                                                         PREJUDICE [DOC. 21]
12   BOSTON SCIENTIFIC
     CORPORATION, et. al,
13
                                    Defendants.
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           Parties have filed a joint motion to dismiss this action with prejudice. [Doc. 21.]
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     Good cause appearing, the Court GRANTS the joint motion. This action is dismissed
17
     WITH PREJUDICE. Per the terms of the joint motion, each party is to bear its own
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     fees and costs.
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           IT IS SO ORDERED.
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23   Dated: October 19, 2020
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                                                                               20-CV-0672 W (AHG)
